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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

SINDY PAOLA TAX CALI,                                        §
                                                             §
            Plaintiff,                                       §
                                                             §
V.                                                           §
                                                                        CIVIL ACTION NO.
                                                             §
LIPMAN-TEXAS, LLC DBA LIPMAN                                 §
PRODUCE, COMBS PRODUCE, AND                                  §
LIPMAN FAMILY FARMS,                                         §
                                                             §
            Defendant.                                       §

                                             NOTICE OF REMOVAL

           Defendant Lipman-Texas, LLC dba Lipman Produce, Combs Produce, and Lipman Family

Farms (collectively referred to as “Defendant”), files this Notice of Removal thereby removing to

this court the state court action brought by Plaintiff Sindy Paola Tax Cali (hereinafter “Plaintiff”)

in the 14th Judicial District Court, Dallas County, Texas.

                                                 I.
                                       PROCEDURAL BACKGROUND

           1.       On February 19, 2021, Plaintiff commenced this action in the 14th Judicial District

Court for the County of Dallas, State of Texas, Cause No. DC-21-02162. See Exhibit 1, Tab A,

Original Petition1 (hereinafter “Petition”). In her Original Petition, Plaintiff alleges Defendant

unlawfully discriminated against her based on her sex and retaliated against her for reporting the

same in violation of Chapter 21 of the Texas Labor Code. Id at ¶¶ 33-45.




1
    Pursuant to Local Rule 81.1 an index of all documents filed with the state court is attached.


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         2.       Defendant was served on March 8, 2021. See Exhibit 1, Tab A, Return of Service

for Defendant Lipman-Texas, LLC. This Notice of Removal is filed by Defendant within 30 days

of being served.

                                                II.
                                       GROUNDS FOR REMOVAL

A.       Diversity Jurisdiction.

         3.       Federal district courts have original jurisdiction of all civil actions between citizens

of different states and where the amount in controversy exceeds $75,000, exclusive of interest and

costs. 28 U.S.C. § 1332(a)(1). As explained below, there is complete diversity of citizenship

between all parties and the amount in controversy exceeds $75,000.00.

         (1)      There is Complete Diversity of Citizenship Between the Parties.

         4.       According to her Petition, Plaintiff is a citizen of Texas, residing in Dallas County,

Texas. Exhibit 1, ¶ 5. Thus, Plaintiff is a citizen of the State of Texas for purposes of 28 U.S.C.

§ 1332.

         5.       Defendant is a citizen of Florida. Defendant Lipman-Texas, LLC’s sole member-

owner is Custom-Pak, Inc. Custom-Pak, Inc. is a Florida corporation with its principal place of

business in Immokalee, Florida. Consequently, Defendant is not a citizen of Texas.2 Because the

parties are citizens of different states, there is complete diversity of citizenship between the parties.

See 28 U.S.C. § 1332(c)(1).




2
    Although Lipman-Texas, LLC is a proper defendant, its citizenships, for the purpose of establishing diversity of
citizenship removal, is ignored because it is an LLC. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080–81 (5th
Cir. 2008). Instead, the citizenship of an LLC is determined by the citizenship of its corporate or individual members.
Mullins v. TestAmerica, Inc., 564 F.3d 386, 397 (5th Cir. 2009).


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        (2)     The amount in controversy exceeds $75,000.

        6.      Plaintiff’s Petition expressly states the amount in controversy is more than

$250,000. Exhibit 1, Tab A, Original Petition, Prayer for Relief, ¶ h.

        7.      Based on the foregoing, Defendant has established that the parties are citizens of

different states and the amount or value of Plaintiff’s claims exceeds $75,000. Accordingly,

removal is proper pursuant to 28 U.S.C. § 1332(a)(1).

B.      The State Court Action Is Properly Removed to the Southern District of Texas,
        Houston Division.

        8.      28 U.S.C. §1441(a) provides a case may be removed to the “district court of the

United States for the district and division embracing the place where such action is pending.”

Plaintiff asserts in her Petition that “. . . the key events related to this litigation occurred in Dallas

County.” Exhibit 1 at ¶ 3. Consequently, venue is proper in, and the division that embraces the

State Court Action is, the United States District Court for the Northern District of Texas, Dallas

Division.     See 28 U.S.C. §§1441(a), 28 U.S.C. §§ 1391(b), and 124(b)(2); and

http://www.txnd.uscourts.gov/location/dallas.

        9.      As required by 28 U.S.C. § 1446(d), a Notice to State Court of Filing of Notice of

Removal along with a copy of this Notice of Removal will be contemporaneously filed with the

clerk of the 14th Judicial District Court, Dallas County, Texas and served on Plaintiff.

                                           III.
                                  CONCLUSION AND PRAYER

        In conclusion, there is complete diversity of citizenship between the parties and the amount

in controversy exceeds $75,000.00. The case was timely removed by Defendant Lipman-Texas,

LLC dba Lipman Produce, Combs Produce, and Lipman Family. Accordingly, this court has

jurisdiction over the case and parties pursuant to 28 U.S.C. § 1332(a).




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       WHEREFORE, Defendant requests that this Court assume full jurisdiction over this matter

as provided by law and for such relief to which Defendant is entitled.



 Dated: April 2, 2021                                Respectfully submitted,

                                                     /s/ Charles H. Wilson
                                                     Charles H. Wilson
                                                     Texas State Bar No. 00797678
                                                     Federal ID No. 34581
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                                CERTIFICATE OF SERVICE

       I do hereby certify that on this the 2nd day of April, 2021, a true and correct copy of the
foregoing document was duly served via the Court’s e-filing system, Certified Mail, Return
Receipt Requested, e-mail and/or facsimile, on counsel of record as follows:

                                      Joseph H. Gillespie
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                             Email: skhader@equajusticecenter.org


                                   ATTORNEY FOR PLAINTIFF
                                    CINDY PAOLA TAX CALI

                                                 /s/ Charles H. Wilson
                                                 Charles H. Wilson




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